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                                                                 December 14, 2022

          Via ECF
          United States Magistrate Judge, Hon. Edward S. Kiel
          Frank R. Lautenberg U.S. Post Office & Courthouse Building
          2 Federal Square
          Newark, NJ 07102

          Re:        John Doe v. Baila Sebrow
                     United States District Court, District of New Jersey
                     Case No.: 2:21-cv-20706

          Dear Magistrate Kiel,

                 We represent the plaintiff in the above-referenced matter. Pursuant to this court’s
          November 10, 2022 order, attached please find Plaintiff’s confidential settlement memorandum.
          We have additionally attached three exhibits to detail the extreme measures the defendant went
          through to harass, defame, and alarm the plaintiff. Although they cause the length of the
          submission to exceed the 10-page limit, we pray the court reviews them in advance of the
          conference.

                     Thank you in advance.

                                                                 Respectfully submitted,

                                                                 DANIEL SZALKIEWICZ & ASSOCIATES, P.C.

                                                                 /s/ Daniel S. Szalkiewicz

                                                                 By: Daniel S. Szalkiewicz, Esq.
                                                                 daniel@lawdss.com

          Co-Counsel:

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